4:13-bk-12806 Doc#: 80 Filed: 06/04/14 Entered: 06/04/14 10:21:33 Page 1 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

INRE:          PATRICIA WALKER                                      CASE NO: 13-bk-12806
               DEBTOR                                               CHAPTER: 7


                         MOTION TO AMEND SCHEDULE F TO
                        ADD UNSECURED NONPRIORITY CLAIMS

        COMES now the Debtor, Patricia Walker, by and through her attorney, Everett 0.

Martindale, and for her Motion, states:

        1,      Debtors requests that she be allowed to amend Schedule F of her Chapter 7

Petition in order to add the below list of creditors holding unsecured claims without priority

against the debtor or the property of the debtor. These creditors should be treated the same as

those originally listed under this classification:

ACCOUNT NO.                             CONSIDERATION                       AMOUNT CLAIM,

173678
Access Credit Management                Medical Service                         598.00
P. 0. Box 22267
Little Rock, AR 72221

103657
AR Health Group Anesthesia              Medical Services                        595.00
11001 Executive Ctr Drive #200
Little Rock, AR 72211

114849
AR Health Group Anesthesia              Medical Services                          8.94
11001 Executive Ctr Dr #200
Little Rock, AR 72211

PIA 1006478
AR River Emergency                      Medical Services                        678.00
P. 0. Box 936100
Atlanta, GA 31193
 4:13-bk-12806 Doc#: 80 Filed: 06/04/14 Entered: 06/04/14 10:21:33 Page 2 of 3




3421
AR Epilepsy Program           Medical Services                     16.14
2 Lile Court #100
Little Rock, AR 72205

33000253100
Baptist Health                Medical Services                  1,669.04
P. 0. Box 25748
Little Rock, AR 72221

696065
Collection Service, Inc.      Collection for Medical Services     297.44
P. 0. Box 7545                Radiology Assos 696065
Little Rock, AR 7221 7        LR Pediatric Clinic 33571
                              Radiology Assoc 25192663
                              Radiology Assoc 696065

92448A1376
OrthoArkansas                 Medical Services                   3,945.38
P. 0. Box 55270
Little Rock, AR 72215
OrthoArkansas                 Medical Services                   1,670.00
10301 Kanis Road
Little Rock, AR 72205
OrthoArkansas                 Medical Services                   1,295.00
10301 Kanis Road
Little Rock, AR 72205
RCLR227504
Radiology Consultants of LR   Medical Services                      20.03
P. 0. Box 55510
Little Rock, AR 72215

696065
Radiology Associates          Medical Services                      20.65
P. 0. Box 8802
Little Rock, AR 72231

2062249
Radiology Associates          Medical Services                     42.88
P. 0. Box 8802
Little Rock, AR 72231


TOTAL:                                                          10,856.50
4:13-bk-12806 Doc#: 80 Filed: 06/04/14 Entered: 06/04/14 10:21:33 Page 3 of 3




       WHEREFORE, Debtor requests that she be allowed to amend her Schedule F to include

the creditors listed above and the debts owed to each be treated as those creditors listed on her

original Schedule F and for all other proper relief.

                                                       Isl Everett 0. Martindale
                                                       EVERETT 0. MARTINDALE
                                                       ABA#74100
                                                       Attorney for Debtor
                                                       902 West Second Street
                                                       Little Rock, AR 72201
                                                       Telephone 501-372-7600
                                                       Email: 3v3r3tt@sbcglobal.net

                                     CERTIFICATE OF SERVICE

       On this the 4th day of May, 2014, a true and correct copy ofthis Motion was sent via the
ECF notification system to James F. Dowden, Trustee, U.S. Trustee, and to all other persons
required by the U. S. Bankruptcy Code including all creditors listed above.

                                                       Isl Everett 0. MartindFale
